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IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE
WESTERN DISTRICT OF TENNESSEE

Case# 5 5 QQZS’_FQ

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Honorable J on McCalla
US DISTRICT COURT

